     Case: 1:23-cv-15527 Document #: 48 Filed: 01/17/24 Page 1 of 2 PageID #:3027



                                 IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

TOHO CO., LTD.,                                           )
                                                          )   Case No. 23-cv-15527
                Plaintiff,                                )
                                                          )
                                                          )    Judge John Robert Blakey
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TOHO CO., LTD.
hereby dismisses with prejudice all causes of action in the complaint as to the Defendants identified
below and in Schedule A. No motions are pending relative to these Defendants. Each party shall bear its
own attorney’s fees and costs.
        No.     Defendant
        42      luckymodel
        76      snowman99999
        88      us-trust
        98      AKStrive

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: January 17, 2024                  By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
                                                  Robert P. McMurray (Bar No. 6324332)
                                                  Hughes Socol Piers Resnick & Dym, Ltd.
                                                  Three First National Plaza
                                                  70 W. Madison Street, Suite 4000
                                                  Chicago, Illinois 60602
                                                  (312) 580-0100 Telephone
                                                  mhierl@hsplegal.com

                                                  Attorneys for Plaintiff
                                                  TOHO CO., LTD.
    Case: 1:23-cv-15527 Document #: 48 Filed: 01/17/24 Page 2 of 2 PageID #:3028




                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on January 17, 2024.



                                                           s/Michael A. Hierl
